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 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0171-MCE

12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER

14   FIDEL SANCHEZ-CRUZ, AND                             DATE: November 14, 2019
     AGUSTIN CRUZ-SANCHEZ,                               TIME: 10:00 a.m.
15                                                       COURT: Hon. Morrison C. England, Jr.
                                  Defendants.
16
17                                               STIPULATION

18          1.      By previous order, this matter was set for status on November 14, 2019.

19          2.      In a minute order issued on November 13, 2019, the Court continued the November 14,

20 2019 status conference to December 11, 2019, and encouraged the parties to file a notice of exclusion of
21 time if amenable. See ECF No. 81.
22          3.      By this stipulation, defendants now move to continue the status conference until January

23 9, 2020, and to exclude time between November 14, 2019, and January 9, 2020, under Local Code T4.
24          4.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes more than 13,000 pages of investigative reports, photographs, and other documents, as

27          well as video and audio recordings. All of this discovery has been either produced directly to

28          counsel and/or made available for inspection and copying. In addition, the government has

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30    PERIODS UNDER SPEEDY TRIAL ACT
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 1        produced to defendant Cruz-Sanchez the contents of his seized cell phone, consisting of

 2        hundreds of photographs, videos, and other files.

 3               b)      Counsel for defendants desire additional time to review the discovery and discuss

 4        it with their clients, to conduct investigation, and to otherwise prepare for trial.

 5               c)      Counsel for defendants believe that failure to grant the above-requested

 6        continuance would deny them the reasonable time necessary for effective preparation, taking into

 7        account the exercise of due diligence.

 8               d)      The government does not object to the continuance.

 9               e)      Based on the above-stated findings, the ends of justice served by continuing the

10        case as requested outweigh the interest of the public and the defendant in a trial within the

11        original date prescribed by the Speedy Trial Act.

12               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13        et seq., within which trial must commence, the time period of November 14, 2019 to January 9,

14        2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

15        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

16        of the Court’s finding that the ends of justice served by taking such action outweigh the best

17        interest of the public and the defendant in a speedy trial.

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19                                    [CONTINUED ON NEXT PAGE]

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     STIPULATION REGARDING EXCLUDABLE TIME               2
30   PERIODS UNDER SPEEDY TRIAL ACT
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 1          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
 6
     Dated: November 13, 2019                                 MCGREGOR W. SCOTT
 7                                                            United States Attorney
 8
                                                              /s/ DAVID W. SPENCER
 9                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
10
11
     Dated: November 13, 2019                                 /s/ DINA SANTOS
12                                                            DINA SANTOS
                                                              Counsel for Defendant
13                                                            FIDEL SANCHEZ-CRUZ
14   Dated: November 13, 2019                                 /s/ HAYES H. GABLE, III
                                                              HAYES H. GABLE, III
15                                                            Counsel for Defendant
                                                              AGUSTIN CRUZ-SANCHEZ
16
17
18                                                    ORDER
19          IT IS SO ORDERED.
20 Dated: November 19, 2019
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      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
